   Case 2:16-cv-13464-NJB-DEK Document 8 Filed 09/09/16 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

*********************************** *
JOAN BAYE,                          *
                                    *
      Plaintiff,                    *            Civil Action No. 2:16-cv-13464
                                    *
      vs.                           *
                                    *
THE OAKES LAW FIRM, LLC,            *
                                    *
      Defendant.                    *
***********************************

                             NOTICE OF SETTLEMENT

       Notice is hereby given that the parties have reached a settlement in this case.

Plaintiff respectfully requests that this Court allow sixty (60) days within which to

complete the settlement, during which time Plaintiff requests the Court to retain

jurisdiction over this matter until fully resolved and final dismissal paperwork may be

filed. Plaintiff further requests all pending motions to be denied as moot.

Dated September 9, 2016.
                                      Respectfully submitted,

                                      /s/ Ashley J. Scott
                                      Ashley J. Scott
                                      LA State Bar No. 34081
                                      Law Office of Ashley J. Scott, PLLC
                                      927 Nashua Street
                                      Houston TX 77008
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                                             1
   Case 2:16-cv-13464-NJB-DEK Document 8 Filed 09/09/16 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I certify that on September 9, 2016, I filed the foregoing document with the Court

using CM/ECF, which will send notification of such filing to all counsel of record.


                                          s/Zachary Landis
                                          Zachary Landis




                                            2
